Case 2:05-cr-20038-PKH    Document 210        Filed 09/12/05   Page 1 of 1 PageID #: 35




                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION




     UNITED STATES OF AMERICA                                              PLAINTIFF

           v.                   CASE NO.          05-CR-20038-004

     DAVID HERRERA                                                         DEFENDANT


                                            ORDER


           Now    on     this    12th       day     of   September,    2005,     upon

     consideration        of    the     defendant’s       motion    for   discovery

     (document #207) filed on September 9, 2005, the Court finds

     that this motion, as well as any other pretrial discovery

     motions that may subsequently be filed in this case, should be

     and hereby is referred to United States Magistrate Judge

     Beverly     Stites    Jones      for    disposition       or   recommendation,

     whichever is appropriate.

           Trial is scheduled for October 24, 2005.



                                            /S/ Robert T. Dawson            _
                                               Robert T. Dawson
                                               United States District Judge
